                 Exhibit 4




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É×ÔÔ×ßÓ Úò ÓßÝÕÛÇ                                        Í»°¬»³¾»® îîô îðîð
ÓßÝÕÛÇ ª- ÉÛÔÔÍ ÚßÎÙÑ ÞßÒÕ                                                ï




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   É×ÔÔ×ßÓ Úò ÓßÝÕÛÇ                                       Í»°¬»³¾»® îîô îðîð
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